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                               SO UTH ERN D ISTRICT O F FLO R IDA
                                  Case N o.16-20189-CR-G AY LES


   UNITED STATES O F AM ERICA

   VS.

   M A RLO N FR AN CESCO M O NR O Y M EO N O ,

           D efendant.


                                        PLEA AG REEM ENT

           TheUnited StatesAttorney'sOfficeforthe Southern DistrictofFlorida(tGthisOffice'')and
   M ARLON FRANCESCO M ONROY M EONO (hereinafterreferredtoastheSsdefendanf')enter
   into the follow ing agreem ent:

                   The defendantagrees to plead guilty to Count 1 ofthe lndictm ent,w hich charges

   thedefendantwith conspiringwith othersto distributemorethan five(5)kilogramsofcocaine,
   know ing thatitw asto be unlawfully im ported into the United States,in violation ofTitle 2l,United

   StatesCode,Section959(a)(2)'
                              ,a1linviolationofTitle21,UnitedStatesCode,Section963.
                   The defendant is aware that the sentence w ill be im posed by the Court after

   considering the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter
   (tsentencing Guidelines''). The defendant acknowledges and understands that the Court will
   compute an advisory sentence underthe Sentencing Guidelines and that the applicable guidelines

   w illbe determ ined by the Courtrelying in parton the resultsofa pre-sentence investigation by the

   Court's probation office,which investigation w illcom m ence afterthe guilty plea hasbeen entered.

   The defendant is also aware that, under certain circum stances,the Court m ay depart from the '

   advisol'y sentencing guideline range that it has computed,and m ay raise or lower that advisory

   sentenceunderthe Sentencing Guidelines. The defendantisfurtheraware and understandsthatthe

   Coul'
       t is required to consider the advisory guideline range determ ined under the Sentencing
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   G uidelines,butisnotbound to impose a sentence within thatadvisory range;the Courtisperm itted

   to tailorthe ultim ate sentence in lightofother statutory concerns,and such sentence m ay be either

   m ore severe or less severe than the Sentencing G uidelines'advisory range. K now ing these facts,

   the defendantunderstandsand acknow ledgesthatthe Courthasthe authority to im pose any sentence

   w ithin and up to the statutory m axim um authorized by law forthe offense identified in paragraph 1

   and thatthe defendantm ay notw ithdraw the plea solely asa resultofthe sentence im posed.

                  The defendant also understands and acknow ledges thatthe Courtm ust impose a

   minimum term ofimprisonmentoften (10)yearsand may imposeastatutory maximum term of
   imprisonmentofuptolife,followedbyaminimum term ofsupervisedreleaseoffive(5)yearsand
   up to life. ln addition to a term ofim prisonm entand supervised release,the Courtm ay im pose a

   fine ofup to $10,000,000.
                  The defendant further understands and acknow ledges that, in addition to any

   sentence imposed underparagraph 3ofthisagreement,a specialassessmentinthe amountof$100
   willbe im posed on the defendant. The defendantagreesthatany specialassessm entim posed shall

   bepaid atthetim eofsentencing. Ifa defendantisfinancially unableto pay the specialassessm ent,

   the defendantagreesto presentevidence to thisO ffice and the Courtatthetim e ofsentencing asto

   the reasonsforthe defendant'sfailureto pay.

                  ThisO fficereservestherightto inform the Courtand theprobation officeofaIlfacts

   pertinent to the sentencing process, including al1 relevant inform ation concerning the offenses

   com m itted, w hether charged or not, as well as concerning the defendant and the defendant's

   background. Subjectonlytotheexpresstermsofany agreed-uponsentencing recommendations
   contained in thisagreem ent,thisO fficefurtherreservesthe rightto m ake any recom m endation asto

   the quality and quantity ofpunishment.
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                  The United Statesagreesthatitw illrecom m end atsentencing thatthe Courtreduce

   by two levels the sentencing guideline level applicable to the defendant's offense,pursuant to

   Section 3E1.l(a) of the Sentencing Guidelines,based upon the defendant's recognition and
   affirm ative and tim ely acceptance of personal responsibility. lf at the tim e of sentencing the

   defendant's offense level is determ ined to be 16 or greater, the governm ent will file a m otion

   requesting an additional one level decrease pursuant to Section 3E1.1(b) of the Sentencing
   G uidelines,stating thatthe defendanthasassisted authoritiesin the investigation orprosecution of

   the defendant'sow n m isconductby tim ely notifying authoritiesofthe defendant'sintention to enter

   a plea of guilty,thereby perm itting the governm entto avoid preparing for trialand perm itting the

   governm entand the Courtto allocate theirresources efficiently. The United Statesfurtheragrees

   to recom m end thatthe defendantbe sentenced atthe low end ofthe guideline range,asthatrange is

   detennined by the Court. The United States,however,willnotberequired to m akethism otion and

   these recommendationsifthe defendant:(1)failsorrefusesto makea full,accurateand complete
   disclosuretotheprobationofficeofthecircumstancessurroundingtherelevantoffenseconduct;(2)
   is found to have m isrepresented facts to the governm entpriorto entering into this plea agreem ent;

   or(3)commitsanymisconductafterentering intothispleaagreement,includingbutnotlimitedto
   com m itting a state or federaloffense,violating any term ofrelease,orm aking false statem ents or

   m isrepresentationsto any governm entalentity orofficial.

                  This O ffice and the defendant agree that,although not binding on the probation

   officeortheCourt,they willjointly recommend thattheCourtmakethefollowing findingsand
   conclusions asto the sentence to be im posed:
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           (a). Ouantity ofdrugs:Thatthequantity ofcontrolled substance,cocaine,involved inthe
   offense,forpurpose of Section 2D1.1(a) and (c) ofthe Sentencing Guidelines isatleast450
   kilogram s.

           (b). Specific Offense Characteristics: Thatpursuantto Section 2Dl.1(b)(l) ofthe
   Sentencing Guidelines,a dangerousw tapon,thatis,afirearm ,w aspossessed.

           (c). AggravatingRole:Thatpursuantto Section 38l.1(c)oftheSentencing Guidelines,
   the defendantw asan organizer,leader,orm anager,orsupervisorofthe crim inalactivity described

   in Count lofthe lndictm ent.

           8.    The parties agree that neither the G overnm ent nor the D efendant w ill request a

    departure from the guideline imprisonment range or seek a variance pursuantto 18 U.S.C.j
    3553(a.
          ).
          9.     The defendantisaw are thatthe sentence hasnotyetbeen determ ined by the Court.

   The defendantalso is aware thatany estim ateofthe probable sentencing range orsentence thatthe

   defendantm ay receive,whetherthatestim atecom esfrom thedefendant'sattorney,thegovernm ent,

   orthe probation office,is a prediction,nota prom ise,and is notbinding on the governm ent,the

   probation office orthe Court. The defendantunderstands furtherthat any recom m endation that

   the governm ent m akes to the Court as to sentencing, w hether pursuant to this agreement or

   otherwise, is not binding on the Courtand the Courtm ay disregard the recom m endation in its

   entirety. The defendantunderstandsand acknow ledges,aspreviously acknow ledged in paragraph

   3 above,thatthedefendantm ay notw ithdraw herpleabased upontheCourt'sdecision notto accept

   a sentencing recom m endation m ade by the defendant,the governm ent,orarecom m endation m ade

   jointlybyboththedefendantandthegovernment.
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          10.     ThedefendantagreesthatsheshallcooperatefullywiththisOfficeby:(a)providing
   truthful and com plete information and testim ony,and producing docum ents,records and other

   evidence,whencalleduponbythisOffice,whetherininterviews,beforeagrandjul'y,oratanytrial
   orotherCourtproceeding;(b)appearingatsuchgrandjuryproceedings,hearings,trials,andother
   judicialproceedings,and atmeetings,asmayberequiredbythisOffsce;and (c) ifrequested by
   this Office,working in an undercover role underthe supervision of,and in compliance w ith,law

   enforcem ent officers and agents. ln addition,the defendantagrees that he w illnotprotectany

   person orentity through false inform ation orom ission,thathe willnotfalsely implicate any person

   orentity,and thathe w illnotcom m itany furthercrim es.

                  This Office reserves the rightto evaluate the nature and extent ofthe defendant's

   cooperation and to make that cooperation,or lack thereof,known to the Court at the tim e of

   sentencing. lfinthesoleandunreviewablejudgmentofthisOfficethedefendant'scooperationis
   ofsuch quality and significance to the investigation orprosecution ofothercrim inalmattersasto

   w arrantthe Court's dow nw ard departure from the advisory sentencing range calculated underthe

   Sentencing Guidelinesand/orany applicable m inim um m andatory sentence,this Office m ay m ake

   a m otion priorto sentencing pursuantto Section 5K l.1 ofthe Sentencing G uidelines and/orTitle

    18,United StatesCode,Section 3553($,orsubsequentto sentencing pursuanttoRule35ofthe
   Federal Rules of Crim inal Procedure, inform ing the Court that the defendant has provided

   substantialassistance and recom m ending thatthedefendant'ssentence be reduced. The defendant

   understandsand agrees,how ever,thatnothing in thisagreementrequiresthisOfficeto fileany such

   m otions, and that this Office's assessm ent of the quality and significance of the defendant's

   cooperation shallbe binding as itrelates to the appropriatenessofthis Office's filing ornon-filing

   ofa m otion to reduce sentence.
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         12.      The defendantunderstands and acknow ledgesthatthe Courtis underno obligation

   to granta m otion forreduction ofsentence filed by thisO ffice. ln addition,the defendantfurther

   understands and acknow ledges that the Courtis under no obligation of any type to reduce the

   defendant'ssentence because ofthe defendant'scooperation.

                  The defendant also agrees to assist this O ffice in all proceedings, whether

   administrativeorjudicial,involvingtheforfeituretotheUnitedStatesofa11rights,title,andinterest,
   regardlessoftheirnature orform ,in alIassets,including realand personalproperty,cash and other

   m onetary instrum ents, wherever located, which the defendant or others to the defendant's

   know ledge have accum ulated as a result of illegalactivities. Such assistance w ill involve the

   defendant'sagreementtotheentl'yofanorderenjoiningthetransferorencumbranceofassetsthat
   maybeidentifiedasbeingsubjecttoforfeiture. Additionally,defendantagreestoidentifyasbeing
   subjecttoforfeitureallsuchassets,andtoassistinthetransferofsuchpropertytotheUnitedStates
   by delivery to this Office upon thisO ffice's request,allnecessary and appropriate docum entation

   with respectto said assets,including consentsto forfeiture,quitclaim deeds and any and allother

   docum ents necessary to delivergood and m arketable title to said property.

                 The defendantisaw arethatTitle 18,United StatesCode,Section 3742 and Title 28,

   United States Code,Section l291afford the defendantthe rightto appealthe sentence im posed in

   thiscase. Acknow ledging this,in exchange forthe undertakingsm ade by the United Statesin this

   plea agreem ent,the defendanthereby waives allrights conferred by Sections 3742 and 1291 to

   appealany sentence im posed,including any restitution order,orto appealthe m annerin w hich the

   sentence w as im posed,unless the sentence exceeds the m axim um perm itted by statute or is the

   resultofan upw ard departure and/oran upw ard variance from the advisory guideline rangethatthe

   Courtestablishesatsentencing. The defendantfurtherunderstandsthatnothing in this agreem ent
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    shallaffectthe governm ent'srightand/orduty to appealassetforth in Title l8,United StatesCode,

    Section3742(b)andTitle28,United StatesCode,Section 1291. However,iftheUnitedStates
    appealsthedefendant'ssentencepursuantto Sections3742*)and 1291,thedefendantshallbe
    released from the above waiver of appellate rights. By signing this agreem ent,the defendant

    acknow ledgesthatthe defendanthas discussed the appealw aiversetforth in this agreementw ith

   the defendant's attorney. The defendantfurther agrees,together w ith this Office,to requestthat

   the Courtenter a specific finding thatthe defendant's waiver of his rightto appealthe sentence

    im posed in thiscase wasknow ing and voluntary.

          15.     Defendantrecognizes thatpleading guilty m ay have consequences w ith respectto

   the defendant's im m igration status if the defendant is nota citizen of the U nited States. Under

   federallaw,a broad range ofcrimesare removableoffenses,including the offensets)to which
   defendantispleadingguilty. Removalandotherimmigration consequencesarethesubjectofa
   separate proceeding,how ever,and defendant understands thatno one, including the defendant's

   atlorney or the Court,can predictto a certainty the effect of the defendant's conviction on the

   defendant's im m igration status. D efendantnevertheless affirm sthatthe defendantw antsto plead

   guilty regardless ofany im m igration consequencesthatthe defendant'splea m ay entail,even ifthe

   consequence isthe defendant'sautom atic rem ovalfrom the United States.

          l6.     This is the entire agreem ent and understanding between this Oftsce and the

   defendant. There are no otheragreem ents,prom ises,representations,orunderstandings.

                                        BEN JA M IN G .GREEN BE G
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               X                        By:
                                               ROBE J.E ER
                                               A SSISTAN T N lT        STA TES A TTORN EY
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   oate: 7 Jfz/zW              By:
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